         Case 3:18-cv-01446-UJH-LSC Document 5 Filed 09/06/18 Page 1 of 1                               FILED
                                                                                               2018 Sep-06 AM 11:25
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA




                                      NOTICE TO COUNSEL

         This case is currently unassigned. It is part of a new case load being created for a new
judge.

        The judges of the Northern District of Alabama are creating an Unassigned civil case
load to be assumed, after confirmation, by the judge nominated to fill the vacancy on the bench
of the court. Cases designated Unassigned H will be assumed by the judge whose duty station
will be in Huntsville.


       A randomly assigned active Article III judge will monitor the case until the new judge is
confirmed. Clerk’s Office contact information is as follows:

           Judge Unassigned H - Angela Ingleright (256) 551-2532
